                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION


 DAVID DUVALL,                            )
                                          )
                    Plaintiff,            )
                                          )
       v.                                 )
                                          ) Civil Action No. 3:19-cv-624-DSC
 NOVANT HEALTH, INC.,                     )
                                          )
                    Defendant.            )
                                          )

                                 NOTICE OF APPEAL

      Defendant Novant Health, Inc. hereby appeals to the United States Court of

Appeals for the Fourth Circuit from: (1) the Jury Verdict entered on October 26, 2021

(ECF 99); (2) the Court’s Order denying Defendant’s Renewed Motion for Judgment

as a Matter of Law (ECF 124), granting in part and denying in part Defendant’s

Motion to Set Aside Punitive Damages (ECF 127), denying Defendant’s Motion for

Sanctions (ECF 130), denying Defendant’s Motion to Strike Plaintiff’s Post-Trial

Evidence (ECF 137), and granting in part and denying in part Plaintiff’s Motion for

Entry of Judgment and Equitable Relief (ECF 132, 135), signed and entered on

August 11, 2022 (ECF 164); (3) the Judgment entered on August 12, 2022 (ECF 165);

(4) the Court’s Order granting in part and denying in part Plaintiff’s Motion to Alter

or Amend the Judgment (ECF 166) and granting Plaintiff’s Motion for an Award of

Attorney’s Fees and Costs (ECF 168), signed and entered on October 19, 2022 (ECF

175); and (5) the Amended Judgment entered on October 28, 2022 (ECF 177).




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Respectfully submitted this 4th day of November, 2022.

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